  Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 1 of 103 PageID #: 1




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 DIGI PORTAL LLC,
                                                       C.A. NO. ______________
                         Plaintiff,
    v.                                                  JURY TRIAL DEMANDED

 FOOT LOCKER, INC.,                                     PATENT CASE

                         Defendant.

                 ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Digi Portal LLC files this Original Complaint for Patent Infringement against Foot

Locker, Inc., and would respectfully show the Court as follows:

                                        I. THE PARTIES

         1.     Plaintiff Digi Portal LLC (“Digi Portal” or “Plaintiff”) is a Texas limited liability

company with a place of business at 2108 Dallas Parkway, Suite 214-1003, Plano, Texas 75093.

         2.     On information and belief, Defendant Foot Locker, Inc. (“Defendant”) is a

corporation organized and existing under the laws of New York, with places of business for

Champs Sports at 4737 Concord Pike, Wilmington, DE 19803 and 132 Christiana Mall, Newark,

DE 19702. Defendant has a registered agent at The Corporation Trust Company, Corporation

Trust Center, 1209 Orange Street, Wilmington, DE 19801.

                               II. JURISDICTION AND VENUE

         3.     This action arises under the patent laws of the United States, Title 35 of the United

States Code. This Court has subject matter jurisdiction of such action under 28 U.S.C. §§ 1331

and 1338(a).

         4.     On information and belief, Defendant is subject to this Court’s specific and general

personal jurisdiction, pursuant to due process and the Delaware Long-Arm Statute, due at least to




                                                  1
  Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 2 of 103 PageID #: 2




its business in this forum, including at least a portion of the infringements alleged herein.

Furthermore, Defendant is subject to this Court’s specific and general personal jurisdiction because

Defendant has places of business within Delaware, including places of business for Champs Sports

at 4737 Concord Pike, Wilmington, DE 19803 and 132 Christiana Mall, Newark, DE 19702.

       5.      Without limitation, on information and belief, within this state, Defendant has used

the patented inventions thereby committing, and continuing to commit, acts of patent infringement

alleged herein. In addition, on information and belief, Defendant has derived revenues from its

infringing acts occurring within Delaware. Further, on information and belief, Defendant is

subject to the Court’s general jurisdiction, including from regularly doing or soliciting business,

engaging in other persistent courses of conduct, and deriving substantial revenue from goods and

services provided to persons or entities in Delaware. Further, on information and belief, Defendant

is subject to the Court’s personal jurisdiction at least due to its sale of products and/or services

within Delaware. Defendant has committed such purposeful acts and/or transactions in Delaware

such that it reasonably should know and expect that it could be haled into this Court as a

consequence of such activity.

       6.      Venue is proper in this district under 28 U.S.C. § 1400(b). On information and

belief, Defendant has places of business with Delaware, including places of business for Champs

Sports at 4737 Concord Pike, Wilmington, DE 19803 and 132 Christiana Mall, Newark, DE 19702.

On information and belief, from and within this District Defendant has committed at least a portion

of the infringements at issue in this case.

       7.        For these reasons, personal jurisdiction exists and venue is proper in this Court

under 28 U.S.C. § 1400(b).




                                                 2
  Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 3 of 103 PageID #: 3




                             III. COUNT I
       (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 8,352,854)

       8.      Plaintiff incorporates the above paragraphs herein by reference.

       9.      On January 8, 2013, United States Patent No. 8,352,854 (“the ‘854 Patent”) was

duly and legally issued by the United States Patent and Trademark Office. The ‘854 Patent is titled

“Dynamic Page Generator.” The ‘854 patent is not subject to a terminal disclaimer and its term is

extended under 35 U.S.C. 154(b) by 1270 days. (Ex. A). A true and correct copy of the ‘854 Patent

is attached hereto as Exhibit A and incorporated herein by reference.

       10.     Digi Portal is the assignee of all right, title and interest in the ‘854 patent, including

all rights to enforce and prosecute actions for infringement and to collect damages for all relevant

times against infringers of the ‘854 Patent. Accordingly, Digi Portal possesses the exclusive right

and standing to prosecute the present action for infringement of the ‘854 Patent by Defendant.

       11.     The application leading to the ‘854 patent is a continuation of U.S. application Ser.

No. 11/656,636, filed Jan. 22, 2007, which is a continuation of U.S. application Ser. No.

09/393,718, filed Sep. 10, 1999, which is a continuation of U.S. application Ser. No. 08/873,975,

filed Jun. 12, 1997. (Ex. A at cover). The ‘854 patent was first assigned to Yahoo! Inc. (Id.).

       12.     The invention in the ‘854 Patent relates to the field of customized information

presentation on the web; more specifically, providing customized pages that are quickly served

and scalable to handle many users simultaneously. (Id. at col. 1:26-30).

       13.     Web servers for serving static web pages were well known in the global Internet.

(Id. at col. 1:31-32).   Such static web pages are useful in many applications whether the

information presented to each requesting user is the same. (Id. at col. 1:32-34). However, some

applications require customization to appeal to users. (Id. at col. 1:34-35). One example is

presenting news to users. (Id. at col. 1:35-37). When static pages are used, a user will often have



                                                   3
  Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 4 of 103 PageID #: 4




to scroll through many topics not of interest to that user to get to the information of interest. (Id.

at col. 1:37-40). However, when presenting news to users, customized web pages present news

that is more relevant to the requesting user than static pages because the information is filtered

according to each user’s interest. (Id. at col. 1:35-37, 40-41).

        14.     Customizing a server response based on the requester is known; however, known

systems do not scale well. (Id. at col. 1:42-43). One method of serving custom pages is to execute

a script, such as a Common Gateway Interface (CGI) script or other program to collect the

information necessary to generate the custom page. (Id. at col. 1:43-47). For example, if the

custom page is a news page containing stock quotes, sports scores and weather, the script might

poll a quote server to obtain the quotes of interest, poll a sports score server to obtain the scores of

interest and poll a weather server to obtain the weather. (Id. at col. 1:47-51). With this

information, the server generates the custom page and returns it to the user. (Id. at col. 1:51-52).

This approach is only useful where there are not many requesters and where the attendant delay

associated with polling various servers to obtain the requested information is acceptable to users.

(Id. at col. 1:53-54). Growing impatience with waiting will turn users away from such servers,

especially as use increases. (Id. at col. 1:54-58).

        15.     One approach that was used in the prior art to avoid long waits is to transfer the

custom information in non-real-time, so that the information is stored local to the user as it arrives

and is presented to the user on request. (Id. at col. 1:59-62). A disadvantage of such a system is

that the networks used by the user become clogged with data continually streaming to the user and

require large amounts of local storage. (Id. at col. 1:62-65). Another disadvantage is that the

locally stored information will become out of date as the server receives new data. (Id. at col.

1:65-67).




                                                   4
  Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 5 of 103 PageID #: 5




       16.     The inventors therefore recognized that there was a need to dynamically generate

customized pages in an unconventional manner that solved the technical problems in the prior art

of long transfer times to obtain the requested information or having to rely on continually

transferring custom information in non-real time which can clog the data network in addition to

providing outdated information. (Id. at col. 1:42 to col. 2:2).

       17.      The following is a discussion of non-limiting examples of the claimed invention

discussed in the specification of the ‘854 patent. The ‘854 patent provides a non-limiting

exemplary diagram of the generation of a custom page for a user, using a front-page generator

(200) and page server (104) (Id. at col. 3:58-60):




                                                 5
  Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 6 of 103 PageID #: 6




(Ex. A at Fig. 2). Front page generator (200) generates a user template (202) from a global front

page template (204) and a user configuration record (206). (Id. at col. 3:58-62). A non-limiting

example of a global front page template is provided in the ‘854 patent:




(Ex. A at Fig. 3). The global user template (204) is an HTML (HyperText Markup Language)

document with additional tags as placeholders for live data. (Id. at col. 5:16-19). Several place

holders (302) are show in the code. (Id. at col. 5:19).

       18.     A user configuration record (206) is a record selected from user configuration

database (116). (Id. at col. 3:63-64). User configuration information includes user demographic

information, such as sex, age, location, stock quotes, favorite sports teams, news topics, etc. (Id.




                                                 6
  Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 7 of 103 PageID #: 7




at col. 2:13-14, col. 5:45-50, col. 6:37-39, 46-48, 52-56). The user configuration information in

the example may not change until the user changes his or her preferences. (Id. at col. 5:33-35).

       19.     The ‘854 patent provides an illustration of a user template (202) as might be

generated from global user template (204) and a user configuration record (206):




(Ex. A at Fig. 4). The user template is unique because it is built based on user demographic

information provided by the user, as opposed to generically chosen dynamic information or based

on information provided by the server. Exemplary demographic information is shown in line 2 of

Fig. 4 (“:M,85,95035,T,*”) indicating that the user is a male, age 85, located in zip code 95035,

etc. (Id. at col. 5:42-45). The ‘854 patent includes a full listing of the non-limiting exemplary user

template of Fig. 4 in Appendix A. (Ex. A at col. 2:57-58; col. 5:22-23).




                                                  7
Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 8 of 103 PageID #: 8




                                    8
Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 9 of 103 PageID #: 9




                                    9
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 10 of 103 PageID #: 10




(Ex. B at Col. 7-11).

       20.     As shown in Fig. 2 of the ‘854 patent, the user template does not need to be

generated each time and instead can be generated and stored. (Ex. A at col. 4:49-51, col. 5:23-32).

One benefit of the claimed invention that speeds up the operation of the dynamic page generation

is that the page can be stored in multiple locations that are based on the frequency by which the

user requests the customized page based on the user template. (Id. at col. 5:37-38, col. 6:49-59).

Some users might choose to access their user page infrequently, while others might choose to

access their front page hourly. (Id. at col. 6: 52-54). For infrequent users, the user template is

stored in a user configuration database, whereas for frequent users the user template may also be

stored in cache. (Id. at col. 5:37-38, col. 6:51-59). Caching reduces the time to respond to a request

for a page and is more effective where the typical user makes several requests in a short time span

and then doesn’t make any requests for a long period of time. (Id. at col. 5:29-32).

       21.     When the user template stored in cache, it may be stored long enough to be reused

and may also be flushed from cache if the user page has been inactive for several days. (Id. at col.

6:49-52, 59-60). Even if it is flushed from cache, the user template can be maintained in the user

configuration database, which can then be quickly accessed and stored in cache in the event a user

may start to access the user page quickly. (Id.).




                                                 10
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 11 of 103 PageID #: 11




       22.     The custom user page can also include an advertisement that is selected based on

the user demographic information. (Id. at col. 5:39-42). For example, using the demographic

information “:M,85,95035,T,*”, an advertisement can be selected that is targeted for a male user,

age 85, located in zip code 95035, etc. (Id. at col. 5:39-45).

       23.     Appendix B of the ‘854 patent is an HTML source code listing of an HTML page

created from an executed user template that is used to generate a user customized browser web

page. (Ex. B at col. 11 – col. 19).

       24.     As explained the ‘854 patent and prosecution history, there are unconventional and

non-generic features of the claimed invention which are technical improvements that make the

generation of dynamic web pages quicker, more efficient, and use less resources. By storing the

user customized template program in two locations in which the location is determined by

frequency, the system is more efficient and allows for a quicker response than the prior art. For

example, by storing the user customized template in user configuration database and in cache, the

dynamic generation of a user customized web page is more efficient and uses less resources of the

server, database, and network, and allows for a quicker generation of the dynamic web page

thereby allowing the server to scale in order to handle substantially more requests for user

customized dynamic web pages. (See Ex. A at col. 1:42-67, col. 4:49-col. 5:15, col. 5:23-32).

Furthermore, by caching the user template, the page can be generated entirely within a page server,

thus conserving network and database resources. (See id. at col. 4:10-11, col. 5:23-32). By also

storing the user customized template in a user configuration database, even if the cache is cleared,

the template already exists in the database which then prevents having to regenerate a new user

customized page from a global page template using a user configuration record thus saving

database and server resources and more quickly generating the requested web page from the user




                                                 11
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 12 of 103 PageID #: 12




customized template. (E.g., id. at col. 3:37-39, col. 4:1-11, 49-62). The storage of a user

customized template program in at least two locations and the location determined from the

frequency of the user request for the customized page was an unconventional and non-generic

method for storing such templates and was not disclosed in the prior art. (Ex. C (Oct. 28, 2010

Resp. to Office Action) at 9).

       25.      Furthermore, the invention provides for more personalized web pages because the

user provides user configuration information on which the user customized template is generated.

(Ex. C (Oct. 28, 2010 Resp. to Office Action) at 9; Ex. D (Apr. 18, 2011 Resp. to Office Action)

at 6). This was an unconventional way for generating a user customized template unique to the

user that was not found in the prior art. (Ex. D (Apr. 18, 2011 Resp. to Office Action) at 6).

       26.      The patents related to the ‘854 patent and sharing the same specification were cited

during the prosecution history of over 700 patents, including patents and applications owned by

companies including Google, Inc., Microsoft Corporation, Amazon Technologies, Inc., Facebook,

Inc., Ebay, Inc., Salesforce.com, Inc., IBM Corporation, Oracle International Corporation,

Comcast Cable Communications, LLC, SAP AG, Citrix Systems, Inc., BEA Systems, Inc., Sprint

Communications Company L.P., Siemens AG, AT&T Intellectual Property I, L.P., Hewlett-

Packard Development Company, L.P., Fujitsu Limited, AOL LLC, General Electric Company,

Accenture LLP, Adobe Systems Inc., Sony Computer Entertainment Inc., and Akamai

Technologies,            Inc.                     (See           http://patft.uspto.gov/netacgi/nph-

Parser?Sect1=PTO2&Sect2=HITOFF&p=1&u=%2Fnetahtml%2FPTO%2Fsearch-

bool.html&r=0&f=S&l=50&TERM1=5983227&FIELD1=UREF&co1=AND&TERM2=&FIEL

D2=&d=PTXT).




                                                 12
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 13 of 103 PageID #: 13




       27.     Direct Infringement. Upon information and belief, Defendant has been directly

infringing at least claims 1-2, 8-9, and 15 of the ‘854 patent in Delaware, and elsewhere in the

United States, by performing the claimed method, using the claimed computer-readable non-

transitory medium storing computer instructions, and/or making and/or using the claimed system

at https://www.champssports.com/ (“Accused Instrumentality”).

       28.     The Accused Instrumentality performs the step of receiving a user request (e.g., a

user login request) for a customized page (e.g., a user’s customized home and search pages on the

website. As shown below, the Champssports.com website will utilize user demographic

information to serve content. Targeted advertisement is implemented using location and

demographic information provided by the user. The JavaScript code shown below from the front-

facing publicly available code, demonstrates that the sign-in is handled via JavaScript. The actual

JS file is served from a CDN. The JavaScript code below was retrieved from browser developer

tools. Based on user data, the code is utilizing user demographics such as location.




                                                13
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 14 of 103 PageID #: 14




(E.g., https://www.champssports.com/).




                                         14
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 15 of 103 PageID #: 15




(E.g., https://help.champssports.com/hc/en-us/articles/360034671454).




(E.g., https://help.champssports.com/hc/en-us/articles/360034671454).




                                              15
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 16 of 103 PageID #: 16




(E.g., https://www.champssports.com/category/sale.html).




(E.g., https://assets.adobedtm.com/launch-EN2e353a6bcf6449339e47775da0327ac7.min.js).




                                             16
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 17 of 103 PageID #: 17




       29.     In at least testing and usage, the Accused Instrumentality practices receiving a

template program (e.g., software instructions and data used for rendering a particular user’s page

such as a JavaScript page) that is unique to the user (e.g., after a user logs in, pages shown to the

user will be based upon a user specific template which dictates that customized information is

displayed, such as the display of the user’s name on the page) and based on user configuration

information (e.g., a user can customize the content of their templates and what will be rendered

and displayed using said templates by using preferences tied to their account by logging in and by

entering information such as search preferences) the user configuration information being supplied

by the user (e.g., a user will have inputted account preferences, such as their name, and will input

search preferences) and used to build the template program that is unique to the user (e.g., a

template program will be unique to a user because it is composed of instruction, code, and data

that is processed/executed to create a webpage customized to a user (e.g., after a user logs in, the

pages displayed to the user will show the user’s name; Champssports.com server provides at least

a portion of the unique template program, such as a generic template in combination with

JavaScript and other code that executes at a user’s computer to create a customized webpage), the

user configuration information including user demographic information (e.g., a user’s account

profile information and/or configuration information may contain their location and age, amongst

other information), and wherein the template program is received from one of at least two locations

(e.g., the data and templates comprising a user’s page may be retrieved from a main server/disk

storage, or from other sources such as a CDN server, cookies, or local cache), the location

determined from the frequency of the user request for the customized page (e.g., based on the

frequency at which a user logs in or accesses their page, the data comprising the users page may

be stored at a main server or at a CDN server, cookies, or local cache). On information and belief,




                                                 17
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 18 of 103 PageID #: 18




template information, that is part of a template program which corresponds to less frequently

accessed webpages, will need to be pulled from a main server, wherein for more frequently

accessed pages, template information will be stored in local storage on the user’s computer.

Running the template program (e.g., page generation code, tiles, containers, and user data) creates

the customized webpage. When a user signs-up or performs a login, the code takes the user

template information and stores it in a site JavaScript object that is used in logic to display site

logic-based conditions. The user information is stored in multiple locations: (1) At runtime, in a

JavaScript object with the data structure called Context Data; (2) Within Browser local storage;

and (3) Browser Cookies. As shown below, after a user logs in to their account, a user specific

template program will be used to display pages to a user. The user specific template dictates that

certain customized content, such as the user’s name, will be displayed. As shown below, the

Champssports.com website will utilize user demographic information to serve content. Targeted

advertisement is implemented using location and demographic information provided by the user.

The JavaScript code shown below from the front-facing publicly available code, demonstrates that

the sign-in is handled via JavaScript. The actual JS file is served from a CDN. The JavaScript code

below was retrieved from browser developer tools. Based on user data, the code is utilizing user

demographics such as location. The code below shows that some portions of the template program

may be pulled from local browser cache as opposed to the main server.




                                                18
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 19 of 103 PageID #: 19




(E.g., https://www.champssports.com/).




(E.g., https://www.champssports.com/ (for a particular user)).




(E.g., https://www.champssports.com/ (for a particular user)).




                                               19
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 20 of 103 PageID #: 20




(E.g., https://assets.adobedtm.com/launch-EN2e353a6bcf6449339e47775da0327ac7.min.js (for a

particular user)).




                                           20
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 21 of 103 PageID #: 21




(E.g., https://help.champssports.com/hc/en-us/articles/360034671454).




                                              21
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 22 of 103 PageID #: 22




(E.g., https://help.champssports.com/hc/en-us/articles/360034671454).




(E.g., https://www.champssports.com/category/sale.html).




                                              22
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 23 of 103 PageID #: 23




(E.g., https://assets.adobedtm.com/launch-EN2e353a6bcf6449339e47775da0327ac7.min.js).




                                           23
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 24 of 103 PageID #: 24




(E.g., https://assets.adobedtm.com/launch-EN2e353a6bcf6449339e47775da0327ac7.min.js).

       30.     The Accused Instrumentality practices receiving an advertisement selected in

accordance to the user demographic information (e.g., Champssports.com provides advertisements

to a user based on demographic information such as age, gender, language, interest, activity, etc.).

(E.g., https://help.champssports.com/hc/en-us/articles/360034671454). As shown below, targeted

advertisement is implemented using location and demographic information provided by the user.

Ads are specific to a user's region and language, based on their IP address. This means that the ads

that are served to a user from Florida may be different than those that appear for a user from

California. Geo-targeting makes the ads even more relevant for visitors to your site, and also means

that you may not see all of the ads that can be served to your pages. The ad targeting uses physical

locations such as IP address and device location.




                                                24
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 25 of 103 PageID #: 25




(E.g., https://help.champssports.com/hc/en-us/articles/360034671454).




(E.g., https://help.champssports.com/hc/en-us/articles/360034671454)




(E.g., https://help.champssports.com/hc/en-us/articles/360034671454)




                                              25
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 26 of 103 PageID #: 26




(E.g., https://www.champssports.com/category/sale.html).

       31.     The Accused Instrumentality practices executing the template program (e.g.,

JavaScript templates) using the selected advertisement (e.g., an advertisement selected based on a

user’s demographic information) to generate the customized page (e.g., a user’s page, with the

advertisement integrated). As shown below, targeted advertisement is implemented using location




                                               26
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 27 of 103 PageID #: 27




and          demographic        information         provided         by         the        user.




(E.g., https://help.champssports.com/hc/en-us/articles/360034671454).




       32.     The Accused Instrumentality practices providing the customized page to the user

(e.g., a user’s Champssports.com page, with integrated advertisements). As shown below, targeted

advertisement is implemented using location and demographic information provided by the user.


                                              27
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 28 of 103 PageID #: 28




(E.g., https://help.champssports.com/hc/en-us/articles/360034671454).




(E.g., https://www.champssports.com/category/sale.html).


                                              28
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 29 of 103 PageID #: 29




       33.       The Accused Instrumentality uses demographic information configured by a user

and utilized for advertisement service includes at least location information, sex, and age (e.g., a

location and/or sex and age obtained by Champssports.com).

       34.       On information and belief, the Accused Instrumentality must include a computer

readable non-transitory medium (e.g., servers) tangibly storing computer instructions (e.g., code

including HTML, JS, CSS, etc.) for a processor (e.g., servers and/or user computers).

       35.       The Accused Instrumentality uses demographic information configured by a user

and utilized for advertisement service includes at least location information, sex, and age (e.g., a

location and/or sex and age obtained by Champssports.com).

       36.       On information and belief, the Accused Instrumentality must include logic for

completing all of the steps cited in claim 15 and 1.

       37.       Plaintiff has been damaged as a result of Defendant’s infringing conduct.

Defendant is thus liable to Plaintiff for damages in an amount that adequately compensates

Plaintiff for such Defendant’s infringement of the ‘854 patent, i.e., in an amount that by law cannot

be less than would constitute a reasonable royalty for the use of the patented technology, together

with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       38.       On information and belief, Defendant has had at least constructive notice of the

‘854 patent by operation of law, and there are no marking requirements that have not been

complied with.

                             IV. COUNT II
       (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 5,983,227)

       39.       Plaintiff incorporates the above paragraphs herein by reference.

       40.       On November 9, 1999, United States Patent No. 5,983,227 (“the ‘227 Patent”) was

duly and legally issued by the United States Patent and Trademark Office. The ‘227 Patent is titled



                                                 29
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 30 of 103 PageID #: 30




“Dynamic Page Generator.” A true and correct copy of the ‘227 Patent is attached hereto as Exhibit

B and incorporated herein by reference.

       41.     Digi Portal is the assignee of all right, title and interest in the ‘227 patent, including

all rights to enforce and prosecute actions for infringement and to collect damages for all relevant

times against infringers of the ‘227 Patent. Accordingly, Digi Portal possesses the exclusive right

and standing to prosecute the present action for infringement of the ‘227 Patent by Defendant.

       42.     The application leading to the ‘227 patent was filed June 12, 1997. (Ex. B at cover).

The ‘227 patent was first assigned to Yahoo! Inc. (Id.).

       43.     The invention in the ‘227 Patent relates to the field of customized information

presentation on the web; more specifically, providing customized pages that are quickly served

and scalable to handle many users simultaneously. (Id. at col. 1:14-18).

       44.     The ‘227 Patent shares the identical specification as the ‘854 patent and therefore

Digi Portal incorporates the background and discussion of the invention in Paragraphs 13-25.

Furthermore, as show in the prosecution history of the ‘227 Patent, it was unconventional to

download real-time information into a server and use a template for the static data as opposed to

linking directly to real-time information. (Ex. E at 5, Ex. F at 2).

       45.     Direct Infringement. Upon information and belief, Defendant has been directly

infringing at least claim 2 of the ‘227 patent in Delaware, and elsewhere in the United States, by

performing actions comprising using or performing the claimed method of providing real-time

responses to user requests for customized pages, including without limitation through the method

implemented of providing a user’s champssports.com page (“Accused Instrumentality”). (E.g.,

http://web.archive.org/web/20160322050807/https://m.champssports.com/?uri=account).




                                                  30
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 31 of 103 PageID #: 31




       46.     The Accused Instrumentality obtains user preferences (e.g., location, different

shoes based on brand, gender, sport, etc.), wherein a user’s preferences indicate items of interest

to that user (e.g., preferences set by user for shoe search).




(E.g., http://web.archive.org/web/20160513162759/http://m.champssports.com/?uri=locator).




                                                  31
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 32 of 103 PageID #: 32




(E.g., https://www.champssports.com/).




(E.g., https://www.champssports.com/category/mens/shoes.html).



                                            32
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 33 of 103 PageID #: 33




         47.   On information and belief, the Accused Instrumentality obtains real-time

information from information sources (e.g., currently available shoe information obtained from

various information sources such as a multitude of databases); and stores the real-time information

in a storage device (e.g., currently available shoe information will be pulled from an information

source and stored, at least temporarily, on the champssports.com web/API server and/or user’s

computer). The code below shows champssports.com pulling shoe information from information

sources.




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                                33
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 34 of 103 PageID #: 34




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).

         48.   On information and belief, the Accused Instrumentality combines the user

preferences (e.g., user preferences include preferences tied to a user’s account which are pulled

upon user login and the search terms inputted by a user such as preferences set by user for shoe

search) for the user and a template (e.g., a generic webpage template) to form a template program

specific to a user (e.g., following a user’s login, a user specific template will be used to create

customized pages for user that display user-specific information such as the user’s name and search

results). As shown below, champssports.com uses a generic template to define how the webpage

should generally be laid out and displayed. Further, champssports.com will then combine the

template with customized data pulled based upon a user’s search inputs and user login in order to

create a template program executable by a user’s browser, so that the customized webpage can be

displayed to the user.




                                                34
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 35 of 103 PageID #: 35




(E.g., http://web.archive.org/web/20160513162759/http://m.champssports.com/?uri=locator).




(E.g., https://www.champssports.com/ (for a particular user)).




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                               35
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 36 of 103 PageID #: 36




(E.g.,         https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s).




(E.g., http://web.archive.org/web/20160322050807/https://m.champssports.com/?uri=account).




                                            36
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 37 of 103 PageID #: 37




(E.g., https://www.champssports.com/ (for a particular user)).




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).

         49.   On information and belief, the Accused Instrumentality receives, from a user and

at the server, a user request for a customized page customized according to the user preferences

(e.g., a user will request a customized page by logging in and by inputting search parameters; this

request will be received at the champssports.com web server).




                                                37
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 38 of 103 PageID #: 38




(E.g., http://web.archive.org/web/20160322050807/https://m.champssports.com/?uri=account).




(E.g., http://web.archive.org/web/20160513162759/http://m.champssports.com/?uri=locator).




                                             38
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 39 of 103 PageID #: 39




(E.g., https://www.champssports.com/ (for a particular user)).




                                               39
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 40 of 103 PageID #: 40




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).

         50.   The Accused Instrumentality executes the template program (e.g., the code for the

website which includes code that defines the general layout of the webpage, and defines

customized information to be displayed such as a user’s name, and other pieces of real-time

information, such as shoe availability, gathered from information source using various APIs and

scripts) specific to the user (e.g., the webpage is catered towards the user’s search queries and

displays customized content such as the user’s name) using real-time information stored in the

storage device (e.g., shoe availability will be gathered from information source using an API and/or

scripts, and stored, at least temporarily, on a champssports.com web server and/or user’s computer)

as input to the template program to generate the customized page (e.g., the shoe availability will

be gathered and combined with a webpage template to create the entire webpage). As shown

below, champssports.com uses a generic template to define how the webpage should generally be

laid out and displayed. Additionally, champssports.com will then combine the template with

customized data pulled based upon a user’s search inputs and user login in order to create a



                                                40
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 41 of 103 PageID #: 41




template program executable by a user’s browser, so that a customized webpage can be displayed

to the user.




(E.g.,         https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                             41
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 42 of 103 PageID #: 42




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s).




(E.g., https://www.champssports.com/ (for a particular user)).




                                               42
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 43 of 103 PageID #: 43




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                          43
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 44 of 103 PageID #: 44




       51.     The Accused Instrumentality provides the user with the customized page (e.g., a

webpage showing shoe that meet a user’s search requirements and which displays user specific

content such as the user’s name) wherein the steps of executing and providing are performed in

real-time response to the receipt of the user request in the step of receiving (e.g., webpages are

created and delivered in real-time as the result of a user login and/or search initiation) wherein the

customized page includes at least one item of real-time information selected from the storage

device (e.g., current shoe availability).




(E.g., http://web.archive.org/web/20160322050807/https://m.champssports.com/?uri=account).




(E.g., https://www.champssports.com/ (for a particular user)).




                                                 44
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 45 of 103 PageID #: 45




(E.g., http://web.archive.org/web/20160513162759/http://m.champssports.com/?uri=locator (for

a particular user)).




(E.g., https://www.champssports.com/).


                                            45
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 46 of 103 PageID #: 46




(E.g.,            https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).

         52.     Plaintiff has been damaged as a result of Defendant’s infringing conduct.

Defendant is thus liable to Plaintiff for damages in an amount that adequately compensates

Plaintiff for such Defendant’s infringement of the ‘227 patent, i.e., in an amount that by law cannot

be less than would constitute a reasonable royalty for the use of the patented technology, together

with interest and costs as fixed by this Court under 35 U.S.C. § 284.

         53.     On information and belief, Defendant has had at least constructive notice of the

‘227 patent by operation of law, and there are no marking requirements that have not been

complied with.

                               V. COUNT III
         (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 7,171,414)

         54.     Plaintiff incorporates the above paragraphs herein by reference.

         55.     On January 30, 2007, United States Patent No. 7,171,414 (“the ‘414 Patent”) was

duly and legally issued by the United States Patent and Trademark Office. The ‘414 Patent is titled




                                                 46
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 47 of 103 PageID #: 47




“Dynamic Page Generator.” A true and correct copy of the ‘414 Patent is attached hereto as Exhibit

G and incorporated herein by reference.

       56.     Digi Portal is the assignee of all right, title and interest in the ‘414 patent, including

all rights to enforce and prosecute actions for infringement and to collect damages for all relevant

times against infringers of the ‘414 Patent. Accordingly, Digi Portal possesses the exclusive right

and standing to prosecute the present action for infringement of the ‘414 Patent by Defendant.

       57.     The application leading to the ‘414 patent was filed September 10, 1999, which was

a continuation of application no. 08/873,975, which issued as the ’227 patent. (Ex. G at cover).

The ‘414 patent was first assigned to Yahoo! Inc. (Id.).

       58.     The invention in the ‘414 Patent relates to the field of customized information

presentation on the web; more specifically, providing customized pages that are quickly served

and scalable to handle many users simultaneously. (Id. at col. 1:29-33).

       59.     The ‘414 Patent shares the identical specification as the ‘854 patent and therefore

Digi Portal incorporates the background and discussion of the invention in Paragraphs 13-25.

Furthermore, the prosecution history of the ‘414 patent highlights advantages and unconventional

features of the claimed invention including the “storing real-time information in a shared local

storage device.” An example of this limitation is when live data used to fill templates is stored

local to the page server which is handling user requests for custom web pages. (Ex. I at 8; Ex. G

at col. 2:11-15). Every piece of information that a person can request on a page is storable in a

shared memory closely coupled to a page generator. (Ex. I at 9; Ex. G at col. 4:43-58). Unlike

the prior art CGI process that required time consuming calls to other servers, storing real-time

information in a shared local storage device, allows for any custom page to be built within the page




                                                  47
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 48 of 103 PageID #: 48




server thereby eliminating the need to make requests from other servers for portions of the live

data. (Ex. I at 9; Ex. G at col. 2:25-31).

       60.     Furthermore, as show in the prosecution history of the ‘414 Patent, it was

unconventional to receive the template program from one of at least two location, the frequency

of the user request for the customized page determines the retrieval location of the template

program. (Ex. H at 9-10). In the prior art, the published web site was stored on a server and

provided from one server location regardless of the frequency of the user requests for the web site.

(Id.). The examiner agreed that the claim was allowable because the prior art did not disclose that

in a page server coupled to a network a method of providing a customized page to a user, the

customized page is customized according to the user’s preferences, and the template is received

from one of at least two locations, the location determined from frequency of the user request for

the customized page. (Ex. J at 3).

       61.     Direct Infringement. Upon information and belief, Defendant has been directly

infringing at least claims 1 and 3 of the ‘414 patent in Delaware, and elsewhere in the United

States, by performing actions comprising using or performing the claimed method using the

https://www.champssports.com/        website   (“Accused    Instrumentality”).      The    Accused

Instrumentality uses a page server (e.g., a champssports.com web server) coupled to a network,

which provides a customized page to a user (e.g., a webpage which displays available shoe meeting

a user’s search parameters), wherein the customized page is customized according to the user’s

preferences (e.g., user preferences include preferences tied to a user’s account which are pulled

upon user login and the search terms inputted by a user such as preferences set by user for shoe

search).




                                                48
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 49 of 103 PageID #: 49




         62.    On information and belief, the Accused Instrumentality obtains real-time

information from information source (e.g., an API is used to gather shoe information for

information source) and stores the real-time information in a shared local storage device (e.g., shoe

information will be gathered from information source using an API and/or scripts, and stored, at

least temporarily, on a champssports.com web server and/or user’s computer). As shown below,

champssports.com uses an API and or scripts to gather shoe information from information sources

in real time.




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                                 49
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 50 of 103 PageID #: 50




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).

         63.   The Accused Instrumentality stores a user-specific template program for the user

in a data structure associated with a user identifier unique to the user (e.g., a template program will

be created for a user’s particular search so that said template program can be executed as to display

the user’s search results as a webpage; said template program is assigned an identifying number

so it can be tied to a particular user’s search query; said template program will be stored, at least

temporarily on a champssports.com server and/or user’s computer). The Accused Instrumentality

uses the template program that is unique to the user which is generated using customization

information unique to the user and a global template that is generic to a plurality of users. As

shown below, after a user logs in, champssports.com can display the shoes added by user to the

cart. As such, a user-specific template program utilized to create the displayed websites that show

a user’s name and user’s selected shoes. For showing these, user’s shopping information must be

stored in a database wherein said template program is tied to a user’s log in information/account.


                                                  50
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 51 of 103 PageID #: 51




(E.g., https://www.champssports.com/cart (for a particular user)).




(E.g., https://www.champssports.com/cart (for a particular user)).

       64.     The Accused Instrumentality receives from the user, and at the page server, a user

request for a customized page (e.g., the champssports.com server will receive a user’s request for

shoe information meeting their inputted parameters) and determines a user identifier associated

with the request (e.g., the champssports.com server will assign an identifying number to the user’s

search). The Accused Instrumentality uses the template program that is unique to the user which

is generated using customization information unique to the user and a global template that is

generic to a plurality of users. As shown below, after a user logs in, champssports.com can display

the shoes added by user to the cart. As such, a user-specific template program utilized to create the

displayed websites that show a user’s name and user’s selected shoes. For showing these, user’s




                                                 51
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 52 of 103 PageID #: 52




shopping information must be stored in a database wherein said template program is tied to a user’s

log in information/account.




(E.g., https://www.champssports.com/cart (for a particular user)).




(E.g., https://www.champssports.com/cart (for a particular user)).

       65.     Upon information and belief, the Accused Instrumentality receives a template

program specific to the user using the determined user identifier associated with the user request

(e.g., the champssports.com server will receive a template program, which is the code and data

that represents the search results webpage to be delivered to a user, that is identified by a number

and linked to a user and their search query). The Accused Instrumentality uses the template

program that is unique to the user which is generated using customization information unique to

the user and a global template that is generic to a plurality of users. As shown below, after a user

logs in, champssports.com can display the shoes added by user to the cart. As such, a user-specific


                                                52
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 53 of 103 PageID #: 53




template program utilized to create the displayed websites that show a user’s name and user’s

selected shoes. For showing these, user’s shopping information must be stored in a database

wherein said template program is tied to a user’s log in information/account.




(E.g., https://www.champssports.com/cart (for a particular user)).




(E.g., https://www.champssports.com/cart (for a particular user)).

       66.     On information and belief, the Accused Instrumentality receives a template

program from one of at least two locations, the location determined from the frequency of the user

request for the customized page (e.g., the code and objects making up a webpage delivered to the

user may be fetched from a main server or from a user’s local cache depending on how often the

user inputs a similar search query.) In at least testing and usage, the Accused Instrumentality

practices receiving a template program (e.g., software instructions and data used for rendering a

particular user’s search results page such as a JavaScript page) that is unique to the user (e.g.,


                                               53
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 54 of 103 PageID #: 54




JavaScript pages will be specific to a user because the content can be modified by and/or

customized for a user (e.g., after a user logs in, pages can display customized information such as

a user’s name, in addition to booking search results tied to a user’s inputted preferences) and based

on user configuration information (e.g., a user can customize the content of their templates and

what will be rendered and displayed using said templates by entering information such as their

location and by logging in to their account) the user configuration information being supplied by

the user (e.g., a user will have supplied their name and any other preferences tied to their account

and will have input preferences applicable to a shoe search) and used to build the template program

that is unique to the user (e.g., user configuration information is used to modify templates, create

instructions, and designate appropriate data retrieval for rendering the user’s specific page) and

wherein the template program is received from one of at least two locations (e.g., the data and

templates comprising a user’s page may be retrieved from a main server/disk storage or other

sources such as local cache, CDN server, and cookies), the location determined from the frequency

of the user request for the customized page (e.g., based on the frequency at which a user logs in or

accesses the champssports.com page, the data comprising the users page may be stored at a main

server or at other locations such as local cache, a CDN server, or cookies). Webpage information

can be stored in a Javascript object that is used in logic to display various available shoes, a user’s

name and other site logic-based conditions. The template information is stored in multiple

locations: (1) At runtime, in a Javascript object with the data structure called Context Data; (2)

Within browser local storage; and (3) browser cookies.




                                                  54
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 55 of 103 PageID #: 55




(E.g., http://web.archive.org/web/20160322050807/https://m.champssports.com/?uri=account

(for a particular user)).




(E.g., https://www.champssports.com/ (for a particular user)).




(E.g.,           https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                               55
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 56 of 103 PageID #: 56




(E.g.,

http://web.archive.org/web/20160513162759/http://m.champssports.com/?uri=locator#d=11001

(for a particular user)).




(E.g., http://web.archive.org/_static/js/bundle-playback.js?v=UfTkgsKx (for a particular user))




(E.g., http://web.archive.org/_static/js/bundle-playback.js?v=UfTkgsKx (for a particular user)).




                                               56
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 57 of 103 PageID #: 57




(E.g., http://web.archive.org/_static/js/bundle-playback.js?v=UfTkgsKx (for a particular user)).




(E.g., http://web.archive.org/_static/js/bundle-playback.js?v=UfTkgsKx (for a particular user)).




(E.g., http://web.archive.org/_static/js/wombat.js?v=UHAOicsW (for a particular user)).

       67.     On information and belief, the Accused Instrumentality executes the template

program (e.g., code, objects, APIs, scripts, etc.) specific to the user (e.g., the code and other

elements composing the webpage are created for a particular user’s search query and which

displays user specific content such as the user’s name) using real-time information stored in the

shared local storage device (e.g., shoe information pulled from information source and stored at



                                               57
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 58 of 103 PageID #: 58




least temporarily on a champssports.com server and/or user’s computer) to generate the

customized webpage (e.g., shoe search results webpage created for a particular user’s search query

and which displays user specific content such as the user’s name).            As shown below,

champssports.com uses an API and or script to gather shoe information from information source

in real time.




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                               58
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 59 of 103 PageID #: 59




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).

         68.    The Accused Instrumentality utilizes a template program that indicates items of

interest to a user; and provides the user a customized page (e.g., the code/scripts/etc. will create a

webpage that displays shoe information related to a user’s search query). As shown below,

champssports.com uses an API and or script to gather shoe information from information source

in real time.




                                                 59
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 60 of 103 PageID #: 60




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                          60
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 61 of 103 PageID #: 61




         69.   On information and belief, the Accused Instrumentality combines the user

preferences (e.g., user preferences include preferences tied to a user’s account which are pulled

upon user login and the search terms inputted by a user such as preferences set by user for shoe

search) for the user and a template (e.g., a generic webpage template) to form a template program

specific to a user (e.g., the code for the entire webpage that utilizes a generic template and user’s

inputted search terms to create a webpage that is customized to display a user’s search results). As

shown below, champssports.com uses a generic template to define how the webpage should

generally be laid out and displayed. Champssports.com will then combine the template with

customized data pulled based upon a user’s search inputs in order to create a template program

executable by a user’s browser, so that the customized webpage can be displayed to the user.




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                                 61
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 62 of 103 PageID #: 62




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                          62
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 63 of 103 PageID #: 63




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                          63
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 64 of 103 PageID #: 64




       70.       Plaintiff has been damaged as a result of Defendant’s infringing conduct.

Defendant is thus liable to Plaintiff for damages in an amount that adequately compensates

Plaintiff for such Defendant’s infringement of the ‘414 patent, i.e., in an amount that by law cannot

be less than would constitute a reasonable royalty for the use of the patented technology, together

with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       71.       On information and belief, Defendant has had at least constructive notice of the

‘414 patent by operation of law, and there are no marking requirements that have not been

complied with.

                            VI. COUNT IV
       (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 7,565,359)

       72.       Plaintiff incorporates the above paragraphs herein by reference.

       73.       On July 21, 2009, United States Patent No. 7,565,359 (“the ‘359 Patent”) was duly

and legally issued by the United Stas Patent and Trademark Office. The ‘359 Patent is titled

“Dynamic Page Generator.” A true and correct copy of the ‘359 Patent is attached hereto as

Exhibit K and incorporated herein by reference.

       74.       Digi Portal is the assignee of all right, title and interest in the ‘359 patent, including

all rights to enforce and prosecute actions for infringement and to collect damages for all relevant

times against infringers of the ‘359 Patent. Accordingly, Digi Portal possesses the exclusive right

and standing to prosecute the present action for infringement of the ‘359 Patent by Defendant.

       75.       The application leading to the ‘359 patent was filed January 22, 2007, as a

continuation of application no. 09/393,718, which issued as the ‘414 patent, which was a

continuation of application no. 08/873,975, which issued as the ’227 patent. (Ex. K at cover). The

‘359 patent was first assigned to Yahoo! Inc. (Id.).




                                                    64
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 65 of 103 PageID #: 65




       76.     The invention in the ‘359 Patent relates to the field of customized information

presentation on the web; more specifically, providing customized pages that are quickly served

and scalable to handle many users simultaneously. (Id. at col. 1:22-27).

       77.     The ‘359 Patent shares the identical specification as the ‘854 patent and therefore

Digi Portal incorporates the background and discussion of the invention in Paragraphs 13-25.

Furthermore, the prosecution history of the ‘359 patent highlights advantages and the

unconventional features of the claimed invention. When allowing the claims of the ‘359 patent,

the examiner focused on the last two limitations of the claim stating that executing the template

program specific to the user using the real-time information stored in the shared local storage

device to generate a customized page; and receiving user preferences for the user, and combining

the user preferences with a generic template to form the template specific to the user, wherein the

user preferences indicate the items of interest to the user in conjunction with the other limitations

was not found in the prior art. (Ex. L at 8).

       78.     Direct Infringement. Upon information and belief, Defendant has been directly

infringing at least claim 10 of the ‘359 patent in Delaware, and elsewhere in the United States, by

performing actions comprising making and/or using the claimed computer-readable medium

comprising instructions for generating customized pages that are customized according to user

preferences that performs the method steps required by the claim, including without limitation

through the method implemented of providing a user’s champssports.com page (“Accused

Instrumentality”). The Accused Instrumentality utilizes a computer-readable medium comprising

instructions (e.g., code that is executed to create webpages) for generating customized pages (e.g.,

user-specific search results), wherein the customized pages are customized according to user

preferences (e.g., web pages will be customized to show shoes meeting a user’s parameters). As




                                                 65
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 66 of 103 PageID #: 66




shown below, champssports.com uses a generic template to define how the webpage should

generally be laid out and displayed. Champssports.com will then combine the template with

customized data pulled based upon a user’s search inputs in order to create a template program

executable by a user’s browser, so that the customized webpage can be displayed to the user.




(E.g., http://web.archive.org/web/20160513162759/http://m.champssports.com/?uri=locator (for

a particular user)).




                                               66
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 67 of 103 PageID #: 67




(E.g., https://www.champssports.com/ (for a particular user)).




                                               67
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 68 of 103 PageID #: 68




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user))




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                          68
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 69 of 103 PageID #: 69




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




(E.g., https://www.champssports.com/ (for a particular user)).




                                               69
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 70 of 103 PageID #: 70




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                          70
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 71 of 103 PageID #: 71




       79.     On information and belief, the Accused Instrumentality practices storing the real-

time information in a shared local storage device (e.g., shoe information will be pulled from a

storage server/database and sent to a champssports.com local web/API server for processing and

display). The Accused Instrumentality also practices storing a user-specific template program (e.g.,

instructions and data used to generate a custom user webpage are stored at least temporarily) for a

plurality of users, wherein each template program indicates items of interest to a user (e.g., each

user’s template program will include instructions, code, etc. that dictates the information that

should be displayed for a user based on their search query), and is associated with a user identifier

(e.g., in order for a user to see information specific to them and their search, champssports.com

assigns each user search an identifying number or user id), wherein the user identifier is associated

with a user request (e.g., a user search will be linked to an identifying number or user id) for a

customized page. As shown below, champssports.com uses an API and or script to gather shoe

information from information source in real time. The Accused Instrumentality stores a user-

specific template program for the user in a data structure associated with a user identifier unique

to the user (e.g., a template program will be created for a user’s particular search so that said

template program can be executed as to display the user’s search results as a webpage; said

template program is assigned an unique identifier so it can be tied to a particular user’s search

query; said template program will be stored, at least temporarily on a champssports.com server).

Further, the Accused Instrumentality uses the template program that is unique to the user which is

generated using customization information unique to the user and a global template that is generic

to a plurality of users. As shown below, after a user logs in, champssports.com can display the

shoes added by user to the cart. As such, a user-specific template program utilized to create the

displayed websites that show a user’s name and user’s selected shoes. For showing these, user’s




                                                 71
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 72 of 103 PageID #: 72




shopping information must be stored in a database wherein said template program is tied to a user’s

log in information/account.




(E.g., https://www.champssports.com/ (for a particular user)).




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                                72
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 73 of 103 PageID #: 73




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




(E.g., https://www.champssports.com/cart (for a particular user)).




                                               73
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 74 of 103 PageID #: 74




(E.g., https://www.champssports.com/cart (for a particular user)).

       80.     On information and belief, the Accused Instrumentality, practices receiving a

template program (e.g., code, instructions, etc. that are executed to create a user page) specific to

the user using the user identifier (e.g., as explained above, in order to display pages customized

for a user, each search is assigned a unique identifier), wherein the template program is received

from one of at least two locations (e.g., main storage at a champssports.com server or local device

storage), the location based upon a frequency of user requests for the customized page (e.g., certain

components of the webpage may be retrieved from local cache, CDN servers, or cookies, as

opposed to a main server, if said components were kept in cache due to a user’s frequent request

for the same or similar page). In at least testing and usage, the Accused Instrumentality practices

receiving a template program (e.g., software instructions and data used for rendering a particular

user’s search results page such as a JavaScript page) that is unique to the user (e.g., JavaScript

pages will be specific to a user because the content can be modified by and/or customized for a

user (e.g., after a user logs in, pages can display customized information such as a user’s name, in

addition to booking search results tied to a user’s inputted preferences)) and based on user

configuration information (e.g., a user can customize the content of their templates and what will



                                                 74
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 75 of 103 PageID #: 75




be rendered and displayed using said templates by entering information such as their location and

by logging in to their account) the user configuration information being supplied by the user (e.g.,

a user will have supplied their name and any other preferences tied to their account and will have

input preferences applicable to a shoe search) and used to build the template program that is unique

to the user (e.g., user configuration information is used to modify templates, create instructions,

and designate appropriate data retrieval for rendering the user’s specific page) and wherein the

template program is received from one of at least two locations (e.g., the data and templates

comprising a user’s page may be retrieved from a main server/disk storage or other sources such

as local cache, CDN server, and cookies), the location determined from the frequency of the user

request for the customized page (e.g., based on the frequency at which a user logs in or accesses

the champssports.com page, the data comprising the users page may be stored at a main server or

at other locations such as local cache, a CDN server, or cookies). Webpage information can be

stored in a Javascript object that is used in logic to display various available shoes, a user’s name

and other site logic-based conditions. The template information is stored in multiple locations: (1)

At runtime, in a Javascript object with the data structure called Context Data; (2) Within browser

local storage; and (3) browser cookies.




(E.g., http://web.archive.org/web/20160322050807/https://m.champssports.com/?uri=account).


                                                 75
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 76 of 103 PageID #: 76




(E.g., https://www.champssports.com/ (for a particular user)).




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




(E.g., http://web.archive.org/web/20160513162759/http://m.champssports.com/?uri=locator#

d=11001 (for a particular user)).




                                               76
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 77 of 103 PageID #: 77




(E.g., http://web.archive.org/_static/js/bundle-playback.js?v=UfTkgsKx (for a particular user)).




(E.g., http://web.archive.org/_static/js/bundle-playback.js?v=UfTkgsKx (for a particular user)).




(E.g., http://web.archive.org/_static/js/bundle-playback.js?v=UfTkgsKx (for a particular user)).




(E.g., http://web.archive.org/_static/js/bundle-playback.js?v=UfTkgsKx (for a particular user)).



                                               77
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 78 of 103 PageID #: 78




(E.g., http://web.archive.org/_static/js/wombat.js?v=UHAOicsW).

        81.     On information and belief, the Accused Instrumentality executes the template

program (e.g., code, objects, APIs, scripts, etc.) specific to the user (e.g., the code and other

elements composing the webpage are created for a particular user’s search query) using real-time

information stored in the shared local storage device (e.g., shoe information pulled from

information source and stored at least temporarily on a champssports.com server and/or user’s

computer) to generate the customized webpage (e.g., shoe search results).      As shown below,

champssports.com uses an API and or script to gather shoe information from information source

in real time.




                                               78
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 79 of 103 PageID #: 79




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).

         82.   On information and belief, the Accused Instrumentality combines the user

preferences (e.g., user preferences include preferences tied to a user’s account which are pulled

upon user login and the search terms inputted by a user such as preferences set by user for shoe

search) for the user and a template (e.g., a generic webpage template) to form a template program

specific to a user (e.g., the code for the entire webpage that utilizes a generic template and user’s

inputted search terms to create a webpage that is customized to display a user’s search results). As

shown below, champssports.com uses a generic template to define how the webpage should

generally be laid out and displayed. Champssports.com will then combine the template with

customized data pulled based upon a user’s search inputs in order to create a template program

executable by a user’s browser, so that the customized webpage can be displayed to the user.



                                                 79
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 80 of 103 PageID #: 80




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s).




                                          80
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 81 of 103 PageID #: 81




(E.g.,            https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).

         83.     Plaintiff has been damaged as a result of Defendant’s infringing conduct.

Defendant is thus liable to Plaintiff for damages in an amount that adequately compensates

Plaintiff for such Defendant’s infringement of the ‘359 patent, i.e., in an amount that by law cannot

be less than would constitute a reasonable royalty for the use of the patented technology, together

with interest and costs as fixed by this Court under 35 U.S.C. § 284.

         84.     On information and belief, Defendant has had at least constructive notice of the

‘359 patent by operation of law, and there are no marking requirements that have not been

complied with.

                              VII. COUNT V
         (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 9,626,342)

         85.     Plaintiff incorporates the above paragraphs herein by reference.




                                                 81
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 82 of 103 PageID #: 82




       86.     On April 18, 2017, United States Patent No. 9,626,342 (“the ‘342 Patent”) was duly

and legally issued by the United States Patent and Trademark Office. The ‘342 Patent is titled

“Dynamic Page Generator.” The ‘342 patent is not subject to a terminal disclaimer and its term is

extended under 35 U.S.C. 154(b) by 891 days. (Ex. M). A true and correct copy of the ‘342 Patent

is attached hereto as Exhibit M and incorporated herein by reference.

       87.     Digi Portal is the assignee of all right, title and interest in the ‘342 patent, including

all rights to enforce and prosecute actions for infringement and to collect damages for all relevant

times against infringers of the ‘342 patent. Accordingly, Digi Portal possesses the exclusive right

and standing to prosecute the present action for infringement of the ‘342 patent by Defendant.

       88.     The application leading to the ‘342 patent was filed December 21, 2012, as a

continuation of application no. 11/842,095, which was a continuation of application no.

11/656,636, which is a continuation of 09/393,718, which was a continuation of application no.

08/873,975, which issued as the ’227 patent. (Ex. M at cover).

       89.     The invention in the ‘342 patent relates to the field of customized information

presentation on the web; more specifically, providing customized pages that are quickly served

and scalable to handle many users simultaneously. (Id. at col. 1:33-37).

       90.     The ‘342 patent shares the identical specification as the ‘854 patent and therefore

Digi Portal incorporates the background and discussion of the invention in Paragraphs 13-25.

       91.     Direct Infringement. Upon information and belief, Defendant has been directly

infringing at least claims 1 and 7 of the ‘342 patent in Delaware, and elsewhere in the United

States, by performing actions comprising performing the claimed method steps, including without

limitation through the method implemented of providing a user’s https://www.champssports.com/

page (“Accused Instrumentality”). The Accused Instrumentality practices a method for receiving




                                                  82
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 83 of 103 PageID #: 83




a user request (e.g., a user login request, search initiation, etc.) for a customized page (e.g., a user’s

customized      home       and      search     pages      on     the     champssports.com).         (E.g.,

https://www.champssports.com/).




(E.g., http://web.archive.org/web/20160322050807/https://m.champssports.com/?uri=account).




(E.g., https://www.champssports.com/ (for a particular user)).




                                                   83
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 84 of 103 PageID #: 84




(E.g., http://web.archive.org/web/20160513162759/http://m.champssports.com/?uri=locator (for

a particular user)).




(E.g., https://www.champssports.com/ (for a particular user)).




                                               84
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 85 of 103 PageID #: 85




(E.g., https://www.champssports.com/category/mens/shoes.html (for a particular user)).




(E.g.,         https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).

         92.   On information and belief, the Accused Instrumentality generates, via at least on

server computer (e.g., champssports.com servers), a template program unique to the user (e.g., a

template program will be unique to a user because it is composed of instruction, code, and data



                                              85
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 86 of 103 PageID #: 86




that is processed/executed to create a webpage customized to a user (e.g., after a user logs in, the

pages displayed to the user will show the user’s name); champssports.com server provides at least

a portion of the unique template program, such as a generic template in combination with

JavaScript and other code that executes at a user’s computer to create a customized webpage), the

template program being used to form the user’s customized web page (e.g., a webpage with

customized content such as the display of a user’s name, and shoe search results) , wherein the

template program is generated using customization information unique to the user (e.g., user

account preferences/data and user search parameters) and a global template that is generic to a

plurality of users (e.g., a generic template that dictates web page layout). The Accused

Instrumentality combines the user customization information (e.g., preferences tied to a user

account that is logged in, and the search terms inputted by a user such as preferences set by user

for shoe search) for the user and a generic template (e.g., a generic webpage template) to form a

template program specific to a user (e.g., the code for the entire webpage that utilizes a generic

template in combination with preferences tied to a logged in user account and a user’s inputted

search terms to create a customized webpage for display). As shown below, champssports.com

uses a generic template to define how the webpage should generally be laid out and displayed.

Champssports.com will then combine the template with customized data pulled based upon a

user’s search inputs and preferences tied to a logged in user account in order to create a template

program executable by a user’s browser, so that the customized webpage can be displayed to the

user.




                                                86
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 87 of 103 PageID #: 87




(E.g., http://web.archive.org/web/20160322050807/https://m.champssports.com/?uri=account).




(E.g., https://www.champssports.com/ (for a particular user)).




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                               87
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 88 of 103 PageID #: 88




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%




                                          88
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 89 of 103 PageID #: 89




3Arelevance%3Agender%3AMen%27s (for a particular user)).




(E.g., http://web.archive.org/web/20160322050807/https://m.champssports.com/?uri=account).




(E.g., https://www.champssports.com/ (for a particular user)).




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%



                                               89
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 90 of 103 PageID #: 90




3Arelevance%3Agender%3AMen%27s (for a particular user)).

       93.     On information and belief, the Accused Instrumentality executes via the at least one

server computer (e.g., a champssports.com server or champssports.com controlled server) the

user’s template program (e.g., a template program is composed of instructions, code and data used

to create a user webpage (e.g., after a user logs in, the pages displayed to the user will show the

user’s name); the champssports.com server provides a generic template that can be customized to

a user, additionally, champssports.com servers will provide content that corresponds to a user’s

request/preferences; thus, although the final webpage may be created on a user’s computer via

their browser, champssports.com servers are involved in the execution process of the template

program used to create said webpage) to generate the user’s customized web page (e.g., shoe search

results page displayed with other customized info such as a user’s name), the user’s customized

web page including real-time information selected for the user’s customized web page based on

customization information unique to the user (e.g., shoe availability information will be gathered

based upon a user’s search parameters). As shown below, champssports.com uses an API and or

script to gather shoe information from information sources in real time.




(E.g., http://web.archive.org/web/20160322050807/https://m.champssports.com/?uri=account).




                                                90
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 91 of 103 PageID #: 91




(E.g., https://www.champssports.com/ (for a particular user)).




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                               91
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 92 of 103 PageID #: 92




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).

         94.   In at least testing and usage, the Accused Instrumentality practices serving, via the

at least one server computer (e.g., a champssports.com server), the user's customized web page

(e.g., champssports.com servers will be involved in serving a user’s customized webpage by

providing the generic template program and any content called in response to modifications made

to the generic template program based upon a user’s search parameters and account preferences).




(E.g., http://web.archive.org/web/20160322050807/https://m.champssports.com/?uri=account).


                                                92
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 93 of 103 PageID #: 93




(E.g., https://www.champssports.com/ (for a particular user)).




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).

         95.   On information and belief, the Accused Instrumentality, in response to receiving a

subsequent request for the user’s customized web page (e.g., the receipt of a user’s search initiation

and login) practices receiving, via the at least one server computer (e.g., a champssports.com

server) a template program (e.g., code, instructions, etc. that are executed to create a user page)

that is unique to the user from one of at least two locations, the location based upon a frequency

of user requests for the customized page (e.g., certain components of the webpage may be retrieved

from local cache, CDN servers, or cookies, as opposed to a main server, if said components were

kept in cache due to a user’s frequent request for the same or similar page). In at least testing and

usage, the Accused Instrumentality practices receiving a template program (e.g., software


                                                 93
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 94 of 103 PageID #: 94




instructions and data used for rendering a particular user’s search results page such as a JavaScript

page) that is unique to the user (e.g., JavaScript pages will be specific to a user because the content

can be modified by and/or customized for a user (e.g., after a user logs in, pages can display

customized information such as a user’s name, in addition to booking search results tied to a user’s

inputted preferences)) and based on user configuration information (e.g., a user can customize the

content of their templates and what will be rendered and displayed using said templates by entering

information such as their location and by logging in to their account) the user configuration

information being supplied by the user (e.g., a user will have supplied their name and any other

preferences tied to their account and will have input preferences applicable to a shoe search) and

used to build the template program that is unique to the user (e.g., user configuration information

is used to modify templates, create instructions, and designate appropriate data retrieval for

rendering the user’s specific page) and wherein the template program is received from one of at

least two locations (e.g., the data and templates comprising a user’s page may be retrieved from a

main server/disk storage or other sources such as local cache, CDN server, and cookies), the

location determined from the frequency of the user request for the customized page (e.g., based on

the frequency at which a user logs in or accesses the champssports.com page, the data comprising

the users page may be stored at a main server or at other locations such as local cache, a CDN

server, or cookies). Webpage information can be stored in a Javascript object that is used in logic

to display various available shoes, a user’s name and other site logic-based conditions. The

template information is stored in multiple locations: (1) At runtime, in a Javascript object with the

data structure called Context Data; (2) Within browser local storage; and (3) browser cookies.




                                                  94
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 95 of 103 PageID #: 95




(E.g., http://web.archive.org/web/20160322050807/https://m.champssports.com/?uri=account).




(E.g., https://www.champssports.com/ (for a particular user)).




(E.g.,          https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                               95
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 96 of 103 PageID #: 96




(E.g., http://web.archive.org/web/20160513162759/http://m.champssports.com/?

uri=locator#d=11001 (for a particular user)).




(E.g., http://web.archive.org/_static/js/bundle-playback.js?v=UfTkgsKx (for a particular user)).




(E.g., http://web.archive.org/_static/js/bundle-playback.js?v=UfTkgsKx (for a particular user)).




                                                96
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 97 of 103 PageID #: 97




(E.g., http://web.archive.org/_static/js/bundle-playback.js?v=UfTkgsKx (for a particular user)).




(E.g., http://web.archive.org/_static/js/bundle-playback.js?v=UfTkgsKx (for a particular user)).




(E.g., http://web.archive.org/_static/js/wombat.js?v=UHAOicsW (for a particular user)).

       96.     On information and belief, the Accused Instrumentality executes via the at least one

server computer (e.g., a champssports.com server) the user’s template program (e.g., a template

program is composed of instructions, code and data used to create a user webpage (e.g., after a

user logs in, the pages displayed to the user will show the user’s name); the champssports.com

server provides a generic template that can be customized to a user, additionally,

champssports.com servers will provide content that corresponds to a user’s request/preferences;


                                                97
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 98 of 103 PageID #: 98




thus, although the final webpage may be created on a user’s computer via their browser,

champssports.com servers are involved in the execution process of the template program used to

create said webpage) to generate the user’s customized web page (e.g., shoe search results page

displayed with other customized info such as a user’s name), the user’s customized web page

including real-time information selected for the user’s customized web page based on

customization information unique to the user (e.g., shoe availability information will be gathered

based upon a user’s search parameters) in response to the subsequent request based on the

customization information unique to the user (e.g., a web page displaying shoe results will be

created and displayed based upon a user’s inputted search parameters and can be further

customized based on account preferences (e.g., displaying a user’s name based on their account

login)). As shown below, champssports.com uses an API and or scripts to gather shoe information

from information sources in real time.




(E.g., http://web.archive.org/web/20160322050807/https://m.champssports.com/?uri=account).




(E.g., https://www.champssports.com/ (for a particular user)).



                                               98
 Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 99 of 103 PageID #: 99




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




(E.g.,        https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).




                                          99
Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 100 of 103 PageID #: 100




       97.     On information and belief, the Accused Instrumentality practices serving, via the

at least one server computer (e.g., a champssports.com server), the user's customized web page

(e.g., champssports.com servers will be involved in serving a user’s customized webpage by

providing the generic template program and any content called in response to modifications made

to the generic template program based upon a user’s preferences and account details).




(E.g., http://web.archive.org/web/20160322050807/https://m.champssports.com/?uri=account).




(E.g., https://www.champssports.com/ (for a particular user)).




                                               100
Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 101 of 103 PageID #: 101




(E.g.,            https://www.champssports.com/category/mens/shoes.html?query=Mens+Shoes%

3Arelevance%3Agender%3AMen%27s (for a particular user)).

         98.      On information and belief, the Accused Instrumentality utilizes a template that

further includes advertisement selection information for use in selecting one or more

advertisements for inclusion in the user’s customized web page in addition to the real-time

information.                                                                               (E.g.,

http://web.archive.org/web/20160708121351/http://www.champssports.com/customerserv/help:p

rivacyPolicy/).




(E.g., http://web.archive.org/web/20160708121351/http://www.champssports.com/customerserv

/help:privacyPolicy/).




                                                101
Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 102 of 103 PageID #: 102




(E.g., http://web.archive.org/web/20160708121351/http://www.champssports.com/customerserv

/help:privacyPolicy/).

       99.       Plaintiff has been damaged as a result of Defendant’s infringing conduct.

Defendant is thus liable to Plaintiff for damages in an amount that adequately compensates

Plaintiff for such Defendant’s infringement of the ‘342 patent, i.e., in an amount that by law cannot

be less than would constitute a reasonable royalty for the use of the patented technology, together

with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       100.      Digi Portal is asserting solely method claims and therefore no marking issue arises.

Regardless, on information and belief, to the extent required, all marking requirements have been

complied with.

                                       X. JURY DEMAND

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.

                                  XII. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court find in its favor and against

Defendant, and that the Court grant Plaintiff the following relief:

       a.        Judgment that one or more claims of United States Patent No. 8,352,854 have been
                 infringed, either literally and/or under the doctrine of equivalents, by Defendant;

       b.        Judgment that one or more claims of United States Patent No. 5,983,227 have been
                 infringed, either literally and/or under the doctrine of equivalents, by Defendant;




                                                 102
Case 1:21-cv-01355-MN Document 1 Filed 09/27/21 Page 103 of 103 PageID #: 103




      c.    Judgment that one or more claims of United States Patent No. 7,171,414 have been
            infringed, either literally and/or under the doctrine of equivalents, by Defendant;

      d.    Judgment that one or more claims of United States Patent No. 7,565,359 have been
            infringed, either literally and/or under the doctrine of equivalents, by Defendant;

      e.    Judgment that one or more claims of United States Patent No. 9,626,342 have been
            infringed, either literally and/or under the doctrine of equivalents, by Defendant;

      f.    Judgment that Defendant account for and pay to Plaintiff all damages to and costs
            incurred by Plaintiff because of Defendant’s infringing activities and other conduct
            complained of herein, and an accounting of all infringements and damages not
            presented at trial;

      g.    Judgment that damages should be trebled as a result of Defendant’s willful
            infringement;

      j.    That Plaintiff be granted pre-judgment and post-judgment interest on the damages
            caused by Defendant’s infringing activities and other conduct complained of
            herein; and

      k.    That Plaintiff be granted such other and further relief as the Court may deem just
            and proper under the circumstances.


September 27, 2021                            CHONG LAW FIRM, P.A.

OF COUNSEL:                                    /s/ Jimmy Chong
                                              Jimmy Chong (#4839)
                                              2961 Centerville Road, Suite 350
David R. Bennett                              Wilmington, DE 19808
Direction IP Law                              Telephone: (302) 999-9480
P.O. Box 14184                                Facsimile: (302) 800-1999
Chicago, IL 60614-0184                        Email: chong@chonglawfirm.com
(312) 291-1667
dbennett@directionip.com                      Attorneys for Plaintiff Digi Portal LLC




                                            103
